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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


      SHARYL THOMPSON ATTKISSON,
      et al.,

             Plaintiffs,

      v.                                                  Civil Action No. 1:17-cv-364 (LMB/JFA)

      ERIC HOLDER, et al.,

             Defendants.


                  PLAINTIFFS’ OPPOSITION TO VERIZON DEFENDANTS’
                      MOTION TO DISMISS AMENDED COMPLAINT

           COME NOW the Plaintiffs, by Counsel, and state as follows in opposition to the Verizon

  Defendants’ Motion to Dismiss the Amended Complaint (Doc. 197).

                                           INTRODUCTION

           Like the Government, the Verizon Defendants attempt to weaponize the procedural history

  of this case against the Plaintiffs, all as a lead up to essentially claim that Plaintiffs’ First Amended

  Consolidated Complaint is too little, too late as to Verizon. To be sure, this case has had a

  protracted procedural history. A review of the docket sheet while the case was pending in the

  District Court for the District of Columbia shows that Plaintiffs’ repeated efforts to seek the

  discovery necessary to identify the full scope of the intrusion and illegal conduct described in their

  original Complaint were met with close to two years’ worth of delay caused largely by opposed-

  but-granted requests for extensions by the Government and inactivity while awaiting rulings. The

  pace picked up considerably once the case was transferred to this Court. But even so, despite this

  case having been pending for more than three years now, and despite Plaintiffs doing everything

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  in their power to obtain basic discovery, to date there has been exactly one deposition in this case

  of a representative from the U.S. Postal Service plus a handful of documents. Plaintiffs have not

  received a single document from any non-government defendant, and have not been able to depose

  anyone from any other agency of the United States or from Verizon. It is, therefore, against this

  backdrop that Verizon’s rhetoric should be judged. Turning to the merits of their arguments, the

  motion should be denied. Plaintiffs did not violate the Court’s prior orders by naming Verizon in

  the First Amended Consolidated Complaint, Plaintiffs’ claims are timely, and they plausibly state

  viable claims against Verizon.

                                    FACTUAL BACKGROUND

         The Court is already familiar with the facts alleged in the Amended Complaint because

  they are substantially similar to those alleged in the Consolidated Complaint (Doc. 117) and

  summarized by the Court in its Memorandum Opinion on the Motion to Dismiss filed on behalf

  of defendants Holder and Donahoe (Doc. 133 at 1-8.) The Consolidated Complaint generally

  alleged a prolonged, unlawful intrusion and disruption into Plaintiffs’ electronic communications

  and data due to Plaintiff Sharyl Attkisson’s role as a journalist critical of the administration’s

  handling of various issues. It alleged that this intrusion and disruption was carried out, among

  others, by individuals who “are and were agents or employees of the federal government,” which

  the Consolidated Complaint referred to descriptively as “Unknown Federal Agents.” (Doc. 117 ¶

  11.)

         The First Amended Consolidated Complaint substitutes the Verizon Defendants in as some

  of the “Unknown Federal Agents” (Doc. 174 ¶¶ 16-18.) The First Amended Consolidated

  Complaint further alleges that the Verizon Defendants actively permitted the USPS-owned IP

  addresses to use Verizon’s wire facilities in furtherance of the electronic surveillance and data


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  exfiltration. (Id. ¶76.) It further explicitly alleges that the Verizon Defendants directly and

  knowingly assisted with the illegal conduct described in the Amended Consolidated Complaint.

  (Id. ¶ 83.) The allegations about specific instances of Verizon involvement in the clandestine

  incursions into Plaintiffs’ various electronic devices are numerous (id. ¶ 84(H), (M)) and includes

  the allegation that Verizon provided the FBI with an end-to-end path between the Plaintiffs’ home

  and FBI’s processing facility in Quantico (id. ¶ 84(M)(q).

                                              DISCUSSION

         The standard for assessing a motion to dismiss is accurately stated in this Court’s prior

  opinion in this matter. (Doc. 133 at 10.)

  A.     Plaintiffs’ amendment does not violate this Court’s prior orders.

         Verizon first argues that the amendment naming the Verizon Defendants violates the

  Court’s orders setting a deadline on when Plaintiff had to substitute a named party for the Doe

  defendants.   The argument appears to be premised upon the logic that Plaintiffs have not

  substituted Verizon for Doe defendants, but instead have named “new” defendants. (Doc. 198 at

  9.) This is incorrect. Plaintiffs’ First Amended Consolidated Complaint is saying that the Verizon

  Defendants were acting as the agents of the federal government in facilitating the electronic

  surveillance and incursion. The Verizon Defendants are thus at least some of the previously

  Unknown Federal Agents. The naming of Verizon was in direct response to and in accord with

  the Court’s prior orders (Docs. 145 & 151).

  B.     Plaintiffs’ amendment is proper under the Federal Rules.

         The Verizon Defendants next contend that the Plaintiffs’ amendment to substitute them for

  the Doe defendants is in violation of Rule 15 because it was somehow done without leave of Court.

  To the contrary, the Court explicitly authorized this amendment in its Orders setting a deadline for


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  the substitution of the Doe defendants (Docs. 145 & 151.) That could only be accomplished by

  filing a new pleading, i.e. an amended complaint. Thus, the claim that the amendment was without

  leave of Court is incorrect. And, because Verizon is incorrect about that point, its next argument

  about the amendment being dilatory, futile, and prejudicial is inapposite. Those are considerations

  for a court to examine when deciding whether to grant leave to amend under Rule 15. However,

  as stated above, the Court already gave the Plaintiffs permission to amend their Complaint when

  it ordered the Plaintiffs to substitute named parties for the Doe defendants by a date certain. (E.g.

  Doc. 151.)

  C.      Plaintiffs’ claims against Verizon are not time-barred.

          1.      The majority of Plaintiffs’ claims against Verizon did not even accrue until
                  2017.

          Plaintiff generally agrees with Verizon on the background issues set forth in Verizon’s

  argument about the statute of limitations. All of the federal claims and the state statutory claim

  are governed by a two-year statute of limitations for which accrual is determined by a discovery

  rule. And the unlawful conduct at issue in this case occurred between 2011 and 2013.

          The issue is that Plaintiffs did not, and could not, discover that Verizon was an author of

  that illegal conduct until much later than the conduct itself occurred. In the federal system, the

  federal discovery rule dictates that “the statute of limitations does not begin to run until the plaintiff

  discovers, or by the exercise of due diligence should have discovered, the facts forming the basis

  of his cause of action.” See Blanck v. McKeen, 707 F.2d 817, 819 (4th Cir. 1983). Of course,

  Plaintiffs could not know the facts forming the basis for their cause of action against Verizon until

  they knew of Verizon’s active participation in the illegality.

          Nor was this knowledge due to lack of diligence on the Plaintiffs’ part. As stated above,

  from the very outset of this case the Plaintiffs have sought to conduct the discovery necessary to

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  determine who was involved in this operation. Upon filing and serving the original complaints,

  the government moved to dismiss, which prevented discovery in the normal course. What

  followed was close to two years of delay resulting from government-requested deadline extensions

  and inactivity due to pending motions. In that time, Plaintiffs sought leave to conduct limited

  discovery to identify the Doe defendants. These efforts too were denied. When the case was

  transferred to this Court the pace picked up dramatically, but even then the Plaintiffs’ discovery

  efforts were largely stymied by both the government and Verizon’s resistance and motions

  practice. Indeed, Plaintiffs’ inability to receive responsive answers to discovery was the basis for

  the Court’s willingness to extend the deadline to identify Doe defendants. (Doc. 151.) Thus,

  despite exercising every degree of diligence they could muster, Plaintiffs were not able to discover

  the facts giving rise to their cause of action against Verizon until they received minimal discovery

  from the US Postal Service in 2017. Their claims against Verizon accrued then, meaning that the

  2018 First Amended Consolidated Complaint substituting the Verizon Defendants for Doe

  defendants was timely as to the Verizon Defendants.

         Plaintiffs’ common law trespass claim is governed by a five-year statute of limitations. Va.

  Code § 8.01-243(B). And unlike the statutory claims, this claim is not subject to a discovery rule;

  rather, the claim accrues upon the date of injury. Verizon claims that the trespass occurred on

  January 1, 2013, when the Complaint alleges that a Verizon employee came onto the Plaintiffs’

  property, and that the five-year limitations period ran on January 1, 2018. Plaintiffs agree that the

  trespass to land claim would thus be barred were it not for the tolling discussed infra. However,

  Count 8 also alleges trespass to chattel. The First Amended Consolidated Complaint alleges that

  Verizon’s trespass on plaintiffs’ personal property continued through at least March 2013, (Doc.




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  174 ¶ 62), so the five years for the claim for trespass to chattel had not run as of the February 2018

  filing of the First Amended Consolidated Complaint.

                2.             The statutes of limitations were tolled.

                Alternatively, even if the statutes of limitations began to run sometime before 2017, and

  more importantly before February 5, 2016, those limitations periods were tolled by operation of

  the fraudulent concealment doctrine. That doctrine is “read into every federal statute of limitations

  and, in cases where the harm is concealed from the plaintiff, starts the limitations period when the

  wrong is discovered.” Sd3 II LLC v. Black & Decker, Inc., Nos. 16-2317, 16-2354, 2018 U.S.

  App. LEXIS 9838, at *3 (4th Cir. Apr. 19, 2018) (citing GO Comput., Inc. v. Microsoft Corp., 508

  F.3d 170, 177-78 (4th Cir. 2007)) (quotations omitted).1 The doctrine “does not stop the clock for

  limitations purposes; it moves the clock, starting it from when the wrong was discovered rather

  than when it was committed.” Id. at *17. The doctrine is satisfied upon a showing that the party

  asserting the statute of limitations fraudulently concealed facts which are the basis of a claim and

  that the plaintiff failed to discover those facts within the statutory period despite the exercise of

  due diligence. Id. at *15-16. Those facts include the fact of injury, the scope of the injury, “and

  the parties responsible for causing it.” Id. at *21.

                The facts alleged in the First Amended Consolidated Complaint describe a highly

  sophisticated, detailed course of conduct in which Verizon and the United States acted in concert

  to access the Plaintiffs’ private communication and information and to hide all traces of their

  actions. This is not a situation where Verizon merely failed to come forward and identify itself as



                                                              
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    Virginia recognizes a similar fraudulent concealment doctrine for purposes of tolling a statute
  of limitations, so this analysis applies with equal force to the Virginia statutory and common law
  claim. Newman v. Walker, 270 Va. 291, 296-98 (2005) (explaining Virginia’s fraudulent
  concealment doctrine).
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  an actor in this conduct. Rather, it is a case where Verizon actively engaged in incredibly complex

  artifices to conceal its role through sophisticated cyberattacks. These cyberattacks were explicitly

  designed to mask their true nature and origin. And then, even after being called to investigate the

  cause of the problems being experienced by the Plaintiffs, Verizon represented to the Plaintiffs

  that it could not determine the source or cause of the problems when in fact, Verizon was the

  source and cause for the problems. Even after being brought into this litigation as a non-party

  source of discovery, Verizon continued to do everything in its power to resist discovery of its role

  in this matter. Moreover, as discussed above, Plaintiffs did not know of Verizon’s active role in

  the illegality complained of herein until discovery from the US Postal Service and further, highly

  complicated investigations into the Plaintiffs’ devices, so the Plaintiffs certainly exercised due

  diligence to discover the identity of the wrong doers. Thus, they have pled sufficient facts to apply

  the doctrine of fraudulent concealment and to permit this case to go forward on discovery on the

  merits and Verizon’s defenses, including the statute of limitations.

  D.      The First Amended Consolidated Complaint states viable claims against Verizon.

          The Verizon Defendants contend that despite the voluminous factual allegations alleged in

  the First Amended Consolidated Complaint, including those detailed allegations specific to

  Verizon’s complex involvement and complicity in the illegality described in the Complaint,

  Plaintiffs do not state a single viable cause of action. The Verizon Defendants greatly overstate

  their position and understate the allegations in the Amended Consolidated Complaint.

          1.     The Plaintiffs plausibly allege a violation of the ECPA.

          Count 3 is brought pursuant to the Electronic Communications Privacy Act, 18 U.S.C. §

  2511.    That Act makes it illegal to intercept, disclose, or use wire, oral, or electronic

  communication.     The Amended Complaint sets forth a detailed history of the Defendants,


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  including the Verizon Defendants, executing sophisticated cyber-attacks that monitored and

  surveilled Plaintiffs’ electronic communications in real time. (E.g. Doc. 174 ¶¶ 51, 58, 59, 61, 75,

  77, 78, 82, 84(M).) And then in Count 3, the Plaintiffs allege that the Defendants, including the

  Verizon Defendants, acted individually in concert to intercept, use and disclose the Plaintiffs’

  communications as alleged in the factual allegations. (Id. ¶¶ 106-08.) Those allegations must be

  taken as true, and so the First Amended Consolidated Complaint states a claim against the Verizon

  Defendants under the ECPA.

         2.      The Plaintiffs plausibly allege a violation of the SCA.

         Count 4 alleges that the Verizon Defendants violated the Stored Communications Act, 18

  U.S.C. § 2701. The Verizon Defendants claim that the Plaintiffs have failed to allege that they

  accessed a “facility” through which electronic communication services are provided, seizing onto

  this Court’s prior ruling that “end-user” devices are not “facilities” under the SCA. Plaintiffs do

  not seek to relitigate the Court’s prior ruling about the status of “end-user” devices as facilities.

  However, as to the Verizon Defendants, the allegations in the Amended Consolidated Complaint

  show that the Verizon Defendants were accessing upstream facilities—i.e. Verizon’s own servers

  and networks—to obtain the Plaintiffs’ electronic communications and to then disclose them to

  the government. Thus, the only question is whether the status of these facilities as being owned

  by Verizon shields Verizon from liability under the SCA. The plain language of the SCA answers

  that question. 18 U.S.C. § 2701(a) prohibits “intentionally access[ing] without authorization” a

  facility or “intentionally exceed[ing] an authorization to access that facility.”        A regulated

  telecommunications entity like Verizon certainly exceeds any authorization it may have when it

  uses its facilities to illegally surveil and collect personal information from a user. Thus, the First

  Amended Consolidated Complaint states a claim against the Verizon Defendants under the SCA.


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                3.             The Plaintiffs plausibly allege a violation of the CFAA.

                Count 5 alleges a violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030. The

  Verizon Defendants contend that the Plaintiffs fail to allege that they “accessed” the Plaintiffs’

  computer devices. This is a puzzling argument. Verizon recognizes that the Fourth Circuit has

  interpreted accessing to mean “to obtain, acquire” or “to gain admission to.” WEC Carolina

  Energy Sols. LLC v. Miller, 687 F.3d 199, 204 (4th Cir. 2012). It is hard to see how the Verizon

  Defendants can contend that the Plaintiffs failed to allege that they gained admission to Plaintiffs’

  computers when there are so many allegations of malware, surveillance programs, and other

  software being loaded onto the Plaintiffs’ devices. None of that can happen without the bad actor

  gaining admission to the computers. Thus, the First Amended Consolidated Complaint plausibly

  states a claim under the CFAA.2

                4.             Plaintiffs plausibly allege a violation of FISA.

                Count 6 alleges a violation of the Foreign Intelligence Surveillance Act, 50 U.S.C §§ 1809-

  10. The Verizon Defendants argue that this claim fails because only an officer or employee of the

  United States can be liable for a FISA violation, which the Verizon Defendants are not. The plain

  language of the statute does not support this argument.

                50 U.S.C. § 1810 provides a private right of action to any aggrieved person against “any

  person” who has violated section 1809. Section 1809, in turn, provides that “a person” is guilty

  of a violation of FISA if he engages in the described conduct. “Person” is defined at 50 U.S.C. §


                                                              
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    Plaintiffs recognize that in its prior decision the Court found that the Plaintiffs had not
  adequately alleged sufficient facts to establish the CFAA’s $5,000 monetary loss threshold, and
  concede that the Amended Complaint does not state a specific dollar amount attributable to the
  CFAA violation. That omission was a mere oversight. If the Court finds that the CFAA claim
  otherwise survives the motion to dismiss, Plaintiffs respectfully request leave to amend for the
  limited purpose of fixing that omission. Plaintiffs represent that they have a good faith basis to
  allege that they have been damaged in excess of $5,000 by virtue of the CFAA violation.
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  1801(m) to include any “group, entity, association, [or] corporation.” Thus, it is clear that a private

  entity or corporation can be guilty of a FISA violation under section 1809, and that section 1810

  provides a private right of action against any private entity or corporation who is so guilty.

         The “officer or employee of the United States” language that the Verizon Defendants rely

  upon is found in 50 U.S.C. § 1809(d), which states that “there is Federal jurisdiction over an

  offense under this section if the person committing the offense was an officer or employee of the

  United States at the time the offense was committed.” This provision should not be read to say

  that only officers or employees of the United States can violate FISA or that there is only a private

  right of action against officers or employees of the United States because to do so would essentially

  nullify the statute’s use of the word “person” to describe who may violate FISA and against whom

  the private right of action lies. Rather, section 1809(d) clarifies that officers or employees of the

  United States who violate FISA may be prosecuted in federal court, as opposed to some other

  jurisdiction. Because the Plaintiffs qualify as “aggrieved persons” under the statute and because

  the Verizon Defendants qualify as “persons” against whom a private right of action may be

  brought, Count 6 states a claim.

         5.      Plaintiffs plausibly allege violations of the VCCA.

         Count 7 is brought pursuant to the Virginia Computer Crimes Act, Virginia Code § 18.2-

  152.4. The Verizon Defendants contend that the First Amended Consolidated Complaint fails to

  allege that the Verizon Defendants made any unauthorized copy of Plaintiffs’ data, used Plaintiffs’

  computer without authorization, etc. The response to this argument is the same as the response

  with regards to Counts 3, 4 and 5. The First Amended Consolidated Complaint goes to great

  lengths to describe how the Verizon Defendants accessed the Plaintiffs’ home network and

  devices, and participated in the planting of malware and other surveillance software to obtain the


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  Plaintiffs data and communications. These allegations squarely and plausibly allege a violation of

  the VCCA.

          6.      Plaintiffs plausibly allege trespass.

          The Verizon Defendants’ arguments regarding the trespass claims are separated between

  trespass to land and trespass to chattel. Regarding the trespass to land argument, the Verizon

  Defendants argue that because their entry onto Plaintiffs’ property was in the form of service calls

  to address the issues being experienced by the Plaintiffs, their entry was not unauthorized. This is

  an interesting situation. It is certainly true that, at the time, Plaintiffs permitted Verizon personnel

  onto their property. This, of course, was because at the time Plaintiffs had no idea what was going

  on and believed Verizon to be simply their service provider. Plaintiffs now know that Verizon

  was much more than just a benign service provider. Thus, when Verizon came onto the Plaintiffs’

  property it was under false pretenses. In short, the Plaintiffs authorized Verizon to come onto their

  property to fix the problems. That authorization did not include what now appears to be the case,

  which is that Verizon was actually there in furtherance of the problem. The Supreme Court of

  Virginia has recognized that a claim for trespass may lie where a party’s entry onto land is

  authorized but engages in conduct that “exceed[s] their authority, by doing some act which they

  had no right to do.” McClannan v. Chaplain, 136 Va. 1, 10 (1923). In that situation, the defendant

  will be considered as a “trespasser ab initio.” Id. Thus, because the Verizon Defendants entry

  onto the land was in excess of their authority, the claim for trespass to land states a claim.

          The argument regarding the claim for trespass to chattel mirrors the arguments about many

  of the statutory claims about there being insufficient allegation that the Verizon Defendants

  intermeddled with the Plaintiffs’ personal property, i.e. their computers and other devices. And

  thus the response is the same. The First Amended Consolidated Complaint provides a detailed


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  description of the Verizon Defendants’ role in accessing and interfering with the Plaintiffs

  electronic devices. Acting in concert with the government, these Defendants participated in the

  placement of surveillance programs on these devices, collected data from the devices, and

  interrupted the use of the devices. In these digital times, that constitutes trespass to chattel.

                                            CONCLUSION

         For the reasons stated above, the motion to dismiss should be denied.



                                                         Respectfully Submitted,

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                                                         SARAH JUDITH STARR ATTKISSON

                                                         By Counsel

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 23, 2018, I electronically filed the foregoing with the Clerk
  of the Court using the CM/ECF system, which will send notification of such filing (NEF) to the
  following counsel of record:

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